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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

                                                                  19-CV-
JOHN DOE,                           )
                                    )
      Plaintiff                     )
                                    )
v.                                  )
                                    )
CLARK UNIVERSITY, DAVID P. ANGEL,   )
Ph.D,NADJA JOHNSON, Ph.D., LYNN S.  )
LEVEY, ADAM J. KEYES, HOLLY DOLAN, )
EVETTE WALTERS, JEFFREY McMASTER, )
CHERILYN BONIN, and JANE SMITH, and )
DAVIS BAIRD, PROVOST.               )
                                    )
      Defendants                    )

           VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

                                  INTRODUCTION

1.    This is an action by a Clark University freshman for injunctive relief and
      damages, arising from gender based discriminatory and defamatory conduct of the
      defendants in prosecuting a false accusation of sexual misconduct against the
      plaintiff via summary proceeding without fundamental rights of basic fairness.
      After erroneously labeling him a sexual offender, Clark and its agents imposed
      sanctions including “training” premised on the false premise of his guilt; now, on
      his refusal to offer written confessionals about impacts of “the event” and what
      “you have learned from this experience,” they have terminated his enrollment and
      housing as of the end of the current academic year.

2.    A female student who had consensual sex with the plaintiff falsely accused him of
      removing the protection during their encounter and inseminating her. The
      procedure by which her claim was adjudicated, the outcome, and the sanctions
      reflect gender bias of Clark and its agents against the rights of males accused of
      sexual misconduct. As a result plaintiff has been and continues to be deprived of
      equal access to educational opportunity at Clark and is facing grievous harm to his
      reputation and his future education and career prospects.

3.    As a direct and proximate result of the foregoing, and because word of this matter
      was wrongfully leaked to other Clark students, plaintiff is suffering unjustified
      disgrace, humiliation and loss of his good name and reputation, distraction, worry,


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       and uncertainty as to his future, mental anguish and emotional harm, and losses of
       time and money expended in his defense.

4.     Besides compensatory damages plaintiff seeks a permanent injunction nullifying
       finding and sanctions and requiring Clark to purge all records of the accusation
       and related proceedings, findings, and discipline. While the action is pending he
       asks the Court to suspend the training sanction and related disciplinary
       proceedings. The plaintiff does not seek to disturb Clark’s order barring contact
       between him and the student who complained against him.

                                        PARTIES

5.     The plaintiff, referred to herein by the pseudonym John Doe (“Doe”) resides in
       Massachusetts and at all pertinent times he was, and to date still is, a full-time
       student in his freshman year at Clark University residing in the City of Worcester,
       Worcester County, Massachusetts.

6.     The defendant Clark University (“Clark”) is a private, liberal arts university
       supported in part by federal grants. Clark was chartered by the Commonwealth of
       Massachusetts in 1877, and has its campus and primary place of business located
       at 950 Main Street, City of Worcester, Worcester County, Massachusetts.

7.     The defendant David P. Angel, Ph.D., (“Angel”) is and at all pertinent times was
       the President of Clark University, and he resides at 130 Woodland Street,
       Worcester, MA, Worcester County, Massachusetts.

8.     The defendant Nadja C. Johnson, Ph.D., (“Johnson”) is and at all pertinent times
       was assistant Dean of Student Services at Clark and she resides at 27 Wachusett
       Street, Worcester, Worcester County, Massachusetts.

9.     The defendant Lynn S. Levey, J.D., (“Levy”) is and at all pertinent times was
       Clark’s Title IX coordinator and assistant dean for wellness, and she resides at 73
       Moore Avenue, Apartment 2, in the City of Worcester, Worcester County,
       Massachusetts.

10.    The defendant Adam J. Keyes (“Keyes”) is and was at all pertinent times
       Associate Dean of Students and Deputy Title IX coordinator at Clark, and he
       resides at 97 Bjorklund Ave. Worcester, Worcester County, Massachusetts.

11.    Holly Dolan (“Dolan”) is and at all pertinent times a professor of education
       practice and deputy Title IX coordinator at Clark, and she resides 25 Azalea Lane,
       Grafton, Worcester County, Massachusetts.




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12.    The defendant Evette Walters (“Walters”) is and was at all pertinent times the
       Associate director of Clark’s Academic Advising Center and she resides at 61
       Dorchester Street in the City of Worcester, Worcester County, Massachusetts.

13.    The defendant Jeffrey McMaster (“McMaster”) was at all pertinent times Clark’s
       Director of Student Accounts and he resides at 298 Mattakeesett Street, Town of
       Pembroke, Plymouth County, Massachusetts.

14.    The defendant Cherilyn Bonin, M.S. (“Bonin”), is and was at all pertinent times a
       student success specialist at Clerks Student Support Services office and she
       resides in 76 Elm Street, Apt. A6 Worcester, Worcester County, Massachusetts.

15.    The defendant Davis Baird, (“Baird”), is and was at all pertinent times the Provost
       and Vice President for Academic Affairs at Clark University and he resides in 15
       Montclair Drive, Worcester, Worcester County, Massachusetts.

16.    Jane Smith (“Smith”) is a resident of the state of New York and was at all
       pertinent times, and on information and belief still is, a full-time undergraduate
       student at Clark.

                               JURISDICTION AND VENUE

17.    This action is brought under Title IX of the Educational Amendments of 1972 (20
       U.S.C. § 1681 et seq.) (“Title IX”) and under state law.

18.    This Honorable Court has original jurisdiction of the federal question pursuant to
       28 U.S.C. § 1331 and pendant jurisdiction of the state law claims pursuant to 28
       U.S.C. § 1367

19.    Venue is proper under 28 U.S.C. § 1391 because the acts and omissions which
       gave rise to the suit occurred in this district and all parties reside in the district.

                                            FACTS

20.    Each of the previous paragraphs is incorporated as if fully set forth herein.

       THE ENCOUNTER BETWEEN DOE AND SMITH

21.    On or about August, 23, 2018, a week before the start of fall semester classes,
       Doe arrived at the Clark campus as an entering freshman to attend a week-long
       orientation program.




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22.    Smith was a returning sophomore Clark employed, trained, and was assigned to
       be Doe’s peer guide and mentor for orientation and throughout the following
       academic year.

23.    After classes began Doe and Smith had several friendly encounters and kept in
       touch.

24.    Shortly after midnight on Saturday, September 22, 2018, Doe and Smith
       exchanged a number of text messages and made plans to get together. Both of
       them had consumed alcohol, and she texted him, “Dude I’m drunk . . .”

25.    Smith invited Doe to meet her near her dorm on the Clark Campus, then invited
       him inside and brought him to her bedroom.

26.    As they became intimate Smith made it clear she was agreeable to having sex
       with Doe and asked him if he had a condom. Doe told her he did.

27.    They reclined on her bed and had vaginal sex in the missionary position, then
       with Smith bent over and Doe behind her.

28.    Doe lost his erection and when Smith offered him oral sex he removed the
       condom and she proceeded to perform fellatio.

29.    Doe regained an erection and, as Smith observed, he put the second condom on
       before the vaginal intercourse resumed, this time with Doe lying on his back with
       Smith straddling him in a kneeling position.

30.    During this third sexual interaction Doe again began to lose his erection and he
       feigned an orgasm so Smith would not expect him to continue having intercourse.

31.    Shortly after this Smith got off of Doe and he removed the condom.

32.    On seeing Doe without the condom on, Smith questioned whether he had
       removed it during intercourse and he assured her he had not. She questioned him
       repeatedly, he emphatically repeated his assurances, and at length it seemed to
       him that she believed him.

33.    Smith, while questioning Doe as to whether he had a condom on during each
       instance of vaginal intercourse, did not tell him that she sensed or felt Doe had
       inseminated her.

34.    In fact Doe did not ejaculate at any time during his sexual encounter with Smith.

35.    They parted cordially and Doe returned to his dorm on campus.


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36.    On Saturday afternoon, Doe texted Smith “Hey, you good?”

37.    Three hours later, after Smith failed to respond, Doe texted her again to ask if he
       could stop by her dorm to retrieve his belt which he had forgotten in her room.

38.    Smith responded “Come now.”

39.    Doe arrived at the dorm and Smith came to a window in her room to speak with
       him as he stood outside.

40.    Smith told Doe, and repeated later by text, that she had obtained a “morning after”
       contraceptive at a cost of 68 dollars, and wrote in the text, “I expect the money by
       Tuesday absolute latest. It is not fair that only I am expected to pay for what you
       did. What you did is not only unforgivable but non-consensual (which you would
       have learned all about if you didn’t skip all of your meetings during seek one.) I
       have every right to go to the school and report you. don’t [sic] give me another
       reason to.”

41.    Doe had not skipped the orientation training on sexual consent and sexual
       misconduct.

42.    Doe again told Smith he had not had intercourse with her without a condom and
       had not ejaculated inside of her.

43.    Doe told Smith there was no need for the morning after contraceptive, but at
       length handed her cash for a portion of the expense.

44.    He reluctantly agreed to pay part of the morning after contraceptive cost because
       he felt he was being blackmailed by Smith.

45.    Smith refused to return Doe’s belt, and they parted on bad terms, each expressing
       a desire to have no further contact with the other.

       SMITH’S TITLE IX COMPLAINT

46.    A week later, on October 1, 2018, Keyes and Dolan wrote Doe that “[y]ou are
       being reviewed for the possible perpetration of sexual exploitation and sexual
       assault violations against [Smith].” (Emphasis in the original.)

47.    As a result of Smith’s complaint, Doe became the object of a sexual assault
       complaint process at Clark that had changed drastically in the immediately
       preceding years, including elimination of such essential elements of basic fairness
       as: the right of an accused to have access to the details of the complaint against
       him and to the complete record of a complaint and its investigation; the right to


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         question his accuser, and the right of representation on the judging panel by peers
         of the accused.

48.      The said rights, while they were eliminated for males accused of sexual
         misconduct, remained undisturbed for those accused of offenses -- including
         violent offenses -- not involving sexual misconduct.

49.      In some respects Clark’s abandonment of basic fairness for targets of sexual
         misconduct accusations fit in with a national trend. As a justice of this Honorable
         Court observed recently, “[i]n recent years, universities across the United States
         have adopted procedural and substantive policies intended to make it easier for
         victims of sexual assault to make and prove their claims and for the schools to
         adopt punitive measures in response. That process has been substantially spurred
         by the Office of Civil Rights of the Department of Education, which issued a
         “Dear Colleague” letter in 2011 demanding that universities do so or face a loss of
         federal funding. See Russlynn Ali, Office for Civil Rights, U.S. Dep't of Educ.,
         Dear Colleague Letter: Sexual Violence (Apr. 4, 2011)
         http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf (‘Dear
         Colleague Letter’).” Doe v. Brandeis, 177 F.Supp. 3d 561, 572. (See Exhibit 10
         hereto for the “Dear Colleague” letter.)

50.      Regarding infringements on the right of representation the same judge noted that
         “[p]resumably, the purpose of that limitation was to spare [the accuser] the
         experience of being subject to cross-examination. While the protection of victims
         of sexual assault from unnecessary harassment is a laudable goal, the elimination
         of such a basic protection raises profound concerns.” Id. 604-05.1

51.      After Doe was notified of the investigation Keyes and Dolan interviewed him to
         obtain his account of the encounter with Smith; they provided him with no
         specifics or documentation of Smith’s allegations.

52.      Approximately a week later Doe met asked to see Keyes again and when they met
         after repeated requests Keyes informed Doe him verbally of the gist of Smith’s
         claim i.e., that without her consent Doe had vaginal intercourse with Smith
         without a condom and had ejaculated into her vaginal tract.

53.      To date neither Doe nor anyone on his behalf has seen or has been provided a
         copy of Smith’s written complaint nor any other documentation of Smith’s
         allegations at the time she made the complaint.




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 The loss of the ability to cross-examine is critical when the issue is the credibility of the accuser. In that
sense cross examination is essential to a fair hearing.


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    54.    Previously, in 2013 Clark handled sexual misconduct complaints by the same
           process it used for other types of student misconduct complaints; policy required
           that a student accused of any offense “will be provided with a written statement of
           the complaint and will be given access to a copy of all relevant materials.”
           Exhibit 1, Campus Security and Fire Safety Report 2013, Procedures for Campus
           Disciplinary Action, 19-20.

    55.    The board that acted on sexual misconduct and other complaints included student
           members.

    56.    The following year Clark changed its policy so as to take sexual misconduct
           complaints out of the university’s regular disciplinary system and have special
           sexual misconduct boards, which did not include students, deal with them. But
           the new policy continued procedures allowing students accused of sexual
           misconduct to have access to copies of all relevant materials. Exhibit 2, Campus
           Security and Fire Safety Report 2014, Procedures for Campus Disciplinary
           Action, 22-3.

    57.    In 2015 Clark established separate procedures for sexual misconduct complaints,
           as opposed to other disciplinary matters; both sets of policies, rather than
           guarantee access to copies of a complaint record, provided for “access to review
           the full case file prior to the hearing” at which a board would rule on a complaint.
           Exhibit 3, Annual Security and Fire Safety Report 2015, University Judicial
           Board Procedure, 28-9; Sexual Offense Hearing Board, 20-32
.
    58.    In 2016 Clark revised policy again, limiting the right of review to an investigative
           report rather than the entire case file for sexual misconduct complaints while
           preserving the right of access to the complete file for other types of complaints.
           Exhibit 4, Annual Security and Fire Safety Report 2016, University Judicial
           Board Procedure, at 27 ¶4; Sexual Offense Hearing Board, Procedure, at 29 ¶3.

    59.    The Clark student handbook for the 2017 academic year included the complete
           Clark policy stating the procedures for dealing with sexual assault complaints
           against students. Exhibit 5, student handbook 2017-18, at 31-35.

    60.    When Doe arrived in August 2018 as a freshman student, the student handbook
           for that year contained only a 5-paragraph summary of the process for dealing
           sexual assault complaints. Exhibit 6, student handbook 2018-19, at 40.

    61.    Unlike the sexual misconduct policy, the policy governing other types of
           complaints was fully set forth completely in the 2018 student handbook, and
           unlike the sexual assault policy, this policy provided for inclusion of student
           members on the boards that ruled on complaints, it provided for an accused



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           student to have access to the complete case file and to have the right to question
           the accuser at a hearing.

    62.    The 2018 student handbook did inform students that sexual assault cases were
           handled under a different procedure than complaints of other offenses.

    63.    At no time was Doe given actual or constructive notice that he could be subject to
           disciplinary procedures other than those set forth in the 2018 student handbook.

    64.    Clark was contractually obligated to advise and provide this information to Doe.

    65.    At all pertinent times there was no basis for Clark or its agents to reasonably
           expect that Doe understood or had agreed he could be judged responsible for any
           serious offense, including sexual offenses, on the basis of proceedings in which he
           was not given timely notice of the specific fact allegations against him, not given
           the benefit of a fair and impartial investigation, not given access to all relevant
           materials, not given adequate time to prepare his defense, not given the
           opportunity to question the lone witness against him, and in which he would be
           judged by a board including none of his peers.

    66.    To the extent, if any, that the 2018 student handbook put Doe on actual or
           constructive notice that Clark had special procedures for dealing with complaints
           of sexual offenses that were different from the procedures that applied to non-
           sexual offenses, such notice indicated that the special procedures applied only to
           complaints of sexual violence as opposed to other types of sexual misconduct.
.
    67.    On October 23, 2018, Doe and his attorney were permitted to review, but not to
           have a copy of, a report by Keyes and Dolan summarizing their investigation. All
           evidence, notes, or other material from the investigation, including taped
           interviews were withheld.

    68.    The Keyes-Dolan report dealt only with the charge of sexual exploitation; the
           sexual assault accusation had been dropped without notice or explanation to Doe.

    69.    On November 16, 2018 Clark University convened a Sexual Offense Hearing
           Board to decide only the sexual exploitation claim.

    70.    While in 2014 policy stated that “Clark’s judicial process requires that
           complainants and respondents have an opportunity to question each other in the
           presence of the board during any hearing” and in 2015 accused and accuser could
           still pose questions through the board chair, by 2018 there was no right of
           examination at all. Exhibit 2 at 22-3; Exhibit 3 at 31; Exhibit 7, Process for
           Resolving Complaints of Sexual Offenses Involving Clark University Students, at
           5-6, Convening the Sexual Offense Hearing Board.


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71.    Doe’s hearing board in 2018 included Dr. Nadja Johnson, assistant dean of
       students, who served as a non-voting chair. The three voting members were
       Evette Walters, associate director of academic advising, student success specialist
       Cherilyn Bonin, and Jeff McMaster, director of student accounts who substituted a
       male member of the board at the last moment.

72.    No students or tenured faculty were voting members of the panel. On information
       and belief the three voting members were each at-will employees of Clark.

73.    True to the Clark policy, Doe was not entitled to confront and cross examine the
       accuser or even to pose question to her through the board chair.

74.    On information and belief Walters, Bonin, McMaster’s, Levey, Johnson Baird and
       Angel had little training on gender discrimination and on Title IX.

75.    Though Doe was permitted to bring an attorney to the hearing, he had no right to
       representation. The lawyer was a silent observer, not permitted to participate in
       any way and Doe was not allowed to cross-examine Smith.

76.    On November 21, 2018 Johnson wrote Doe informing him that he had been found
       responsible of violating the Sexual Exploitation provision of Clark’s Sexual
       Offense policy.

77.    The letter failed to articulate the basis, grounds or reasoning for their decision – it
       was penned by Dr. Johnson, and informed Doe that “[t]his letter serves as a
       written confirmation of their decision.”

78.    Clark’s policy defined sexual exploitation as occurring “when a person takes non-
       consensual or abusive sexual advantage of another for their [sic] own advantage
       or benefit, or to benefit or advantage anyone other than the one being exploited,
       and that behavior does not otherwise constitute Sexual Assault, Sexual
       Misconduct, or Sexual Harassment. Examples of Sexual Exploitation include, but
       are not limited to: making public sexual activity with another person without that
       other person’s consent; prostituting another person; non-consensual video- or
       audio-taping of sexual activity; going beyond the boundaries of consent (such as
       letting your friends hide in the closet to watch you having consensual sex);
       voyeurism; and/or knowingly transmitting an sexually transmitted infection (STI)
       or HIV to another person.”

79.    Johnson’s letter also informed Doe that his sanctions for this offense would
       include being barred from student leadership positions for a year, a one-year no-
       contact order as to Smith and participation in remedial training by Levey, the Title
       IX coordinator.



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80.        To all intents and purposes this decision was final; the only grounds for appeal
           were procedural error or newly discovered evidence. Under its policy Clark
           refused to consider appeals on grounds that the board decision was erroneous,
           unfair, arbitrary and capricious, or unsupported by the evidence or that the Board
           had failed to permit cross-examination of Smith.

81.        Doe’s appeal letter to Levey, Clark’s Title IX coordinator and Assistant Dean of
           Wellness spelled out his grounds for appeal which included without limitation, the
           lax standard of proof of preponderance of the evidence and the proposed
           regulations issued by the United States Dept. of Education under Title IX at
           106.45(b)(3)(vii) and the need for cross-examination. i.e. “For higher institutions,
           the recipient’s grievance procedure must provide for a live hearing. At the
           hearing, the decision-maker must permit each party to ask the other party and any
           witnesses all relevant questions and follow-up questions, including those
           challenging credibility. Such cross-examination at a hearing must be conducted
           by the party’s advisor of choice, notwithstanding the discretion of the recipient
           under paragraph (b)(3)(iv) of this section to otherwise restrict the extent to which
           advisors may participate in the proceedings. If a party does not have an advisor
           present at the hearing, the recipient must provide that party an advisor aligned
           with that party to conduct cross-examination. All cross-examination must exclude
           evidence of the complainant’s sexual behavior or predisposition, unless such
           evidence about the complainant’s sexual behavior is offered to prove that
           someone other than the respondent committed the conduct alleged by the
           complainant, or if the evidence concerns specific incidents of the complainant’s
           sexual behavior with respect to the respondent and is offered to prove consent. At
           the request of either party, the recipient must provide for cross-examination to
           occur with the parties located in separate rooms with technology enabling the
           decision-maker and parties to simultaneously see and hear the party answering
           questions. The decision-maker must explain to the party’s advisor asking cross-
           examination questions any decision to exclude questions as not relevant. If a party
           or witness does not submit to cross-examination at the hearing, the decision-
           maker must not rely on any statement of that party or witness in reaching a
           determination regarding responsibility.”2




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     Proposed Title IX regulations at 34 CFR Part 106 Title IX of the Education Amendments of 1972.  


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82.    Indeed the proposed regulations -106.45(b)(3)(viii): “requires institutions to
       provide a live hearing, and to allow the parties’ advisors to cross-examine the
       other party and witnesses. If a party does not have an advisor at the hearing, the
       recipient must provide that party an advisor aligned with that party to conduct
       cross-examination. Cross- examination conducted by the parties’ advisors (who
       may be attorneys) must be permitted notwithstanding the discretion of the
       recipient under subsection 106.45(b)(3)(iv) to otherwise restrict the extent to
       which advisors may participate in the proceedings. In the context of institutions of
       higher education, the proposed regulation balances the importance of cross-
       examination with any potential harm from personal confrontation between the
       complainant and the respondent by requiring questions to be asked by an advisor
       aligned with the party.”

83.    Doe’s appeals were denied including two last appeals directly to Provost and Vice
       President, Baird and by President Dr. Angel, i.e., Clark’s counsel responded the
       proposed regulations are “…[i]n no way binding upon institutions.” “The
       University retains the right to (sic) right to refer your client to its student conduct
       processes if he does, in fact, continue to disregard the University’s assigned
       sanction.”

84.    On February 6, 2019, Levey wrote Doe stating his first assignment for his training
       would be a short essay of 500-600 words in which he should “consider who was
       hurt by the event that was reviewed by the Hearing Board. Be specific in your
       account. That is, while you will likely discuss how you and perhaps the
       Complainant (though not required) in the case were harmed, you may also want to
       consider who else was effected by this event. Be specific, detailed and reflective.
       . . Once I receive the paper, I will email you a time for us to review the contents
       together.” Exhibit 8, Levey letter to Doe, February 6, 2019.

85.    Levey set a deadline of February 14, 2019, for the assignment and advised Doe
       that his failure to comply could lead to further disciplinary action.

86.    Doe had no objection to the no-contact order and accepted the ban on his holding
       leadership positions. However, because he did not believe his encounter with
       Smith harmed or affected anyone, and because he considered the assignment to be
       falsely premised on the validity of the sexual exploitation finding he did not write
       the paper Levey called for.

87.    For this he was brought before Clark’s University Conduct Board, which deals
       with non-sexual offenses, for disobeying Levy, and on March 29, 2019, Doe was
       found responsible for this offense.

88.    On that date Kate Cassidy, the chair of that board, wrote informed Doe that his
       student account has been frozen so that he cannot sign up for next fall’s classes,


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       unless he completes Levey’s assignment by April 12, 2019, and writes another
       longer paper by April 26. Exhibit 9, Cassidy letter to Doe, March 29, 2019.

89.    Cassidy wrote that this paper must:

       A. Reflect on your values system: What experiences have shaped your values?
       Provide specific examples. What purpose do those values serve in your life?
       B. How do these values play out in your day-to-day life?
       C. How do you know that people recognize what your values are? How do people
       see your values as an extension of you as a person?
       E. What is the most important thing you have learned from this experience in
       regards to your values system?

90.    The letter stated that the additional paper “may not serve to justify your own
       actions or evaluate the actions of others. . . . I do hope that this experience has
       been a learning experience and that you will reflect on these actions moving
       forward in order to make better decisions.”

91.    Besides being barred from registering for fall semester classes, Cassidy warned,
       that if Doe is found responsible for additional violations he may face additional
       sanctions including “separation from the university.”

92.    Cassidy’s letter did not mention that the hold on Doe’s account also keeps him
       from signing up for housing for the fall semester.

93.    According to Clark policy accusations of sexual misconduct are to be handled on
       a strictly confidential basis actions. Nevertheless word of the complaint and the
       resulting sanctions on Doe has gotten out among the student body, on information
       and belief thanks to Smith.

       CLARK’S ERRONEOUS OUTCOME ON GENDER BIAS GROUNDS

94.    The board’s and Defendants’ findings that Doe was responsible for sexual
       exploitation of Smith is false and erroneous.

95.    Clark and its agents engaged in erroneous disciplinary conduct against Doe,
       labeled him a sex offender, created a hostile environment against him, and
       impaired his educational and career prospects, because of his gender.

96.    At all pertinent times Clark and its agents observed the rights to basic fairness of
       female students, faculty, or staff accused of misconduct to a far greater extent than
       they did to the same rights of male students accused of sexual misconduct.




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97.     At all pertinent times a female accused of misconduct had a right to see the
        statement or complaint against her, to see all records of the complaint and its
        investigation, to question her accuser, and to have representation of her peers on
        the panel judging the complaint; male students accused of sexual misconduct had
        no such rights.

98.     On information and belief, while those who have reported being the victims of
        sexual offenses at Clark have not been exclusively female, at all pertinent times
        the alleged perpetrators of sexual violence have been males, and allegations of
        other types of sexual misconduct have been against males in the overwhelming
        majority of cases.

99.     Upon information and belief Clark’s sexual board’s findings are infected with
        systemic gender bias and civil discovery will demonstrate the findings reflect that
        gender bias.

100.    Unlike cases of alleged rape or sexual assault in which complainants attest as
        percipient witnesses to such facts as penetration and lack of consent, Smith did
        not claim she observed Doe remove his condom or observed Doe without a
        condom on during or just before sex.

101.    Based on the limited and incomplete information disclosed to Doe about Smith’s
        fact allegations, she was intoxicated at the time of the encounter and she surmised
        that Doe had sex with her without protection when she saw he did not have a
        condom on after the sex was over.

102.    In the last intercourse position Smith was straddling Doe in an upright kneeling
        posture from which she likely would have observed if he removed the condom; on
        information and belief Smith stated she was unsure of the sequence of positions.

103.    Smith claimed she sensed wetness in her genital area that she attributed to Doe
        ejaculating without a condom.

104.    There was no physical evidence of ejaculation and no statements or other
        evidence on which the sexual offenses board could determine even by
        preponderance of the evidence that what Smith sensed was semen as opposed to
        vaginal secretions or condom lubricant.

105.    Put differently, the Defendants’ findings of sexual exploitation against Doe rested
        exclusively on Smith’s uncorroborated testimony that she had vaginal secretions,
        i.e. that her vagina was wet.

106.    The board’s decision finding Doe responsible for sexual exploitation of Smith
        rests not on physical evidence but solely on a credibility determination in favor of


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        Smith, who was intoxicated at the time she had intercourse with Doe and whose
        claim rests on inference (at best) or conjecture, rather than Doe, who has actual
        knowledge.

107.    In investigating Smith’s complaint against Doe Keyes and Dolan or the other
        Defendants’ did not carefully scrutinize Smith’s basis for the knowledge she
        claimed as to Doe having sex with her and ejaculating without a condom; the
        investigation was not impartial and was biased against Doe.

108.    In making its decision, the board did not have the benefit of detailed and careful
        examination of Smith as to her account of the encounter and as to the timing and
        nature of the perceptions on the basis of which she reported her belief Doe had
        ejaculated without protection.

109.    This was because, as a matter of policy, Keyes and Dolan mounted a cursory
        investigation whose objective above all else was not to importune the complainant
        and to move the sexual complaint process quickly towards a conclusion. As
        Keyes stated in a 2017 interview with the Scarlet student newspaper,
        investigations of sexual misconduct were tailored to the needs of complainants.
        “[W]e’ve tried to create a very survivor-centric process that allows for a person to
        meet as minimal a number of times [as possible] with as minimal a number of
        people,” Keyes stated.

110.    In making its decision against Doe the board did not have the benefit of any
        disclosed expertise in medicine to help evaluate Smith’s claims.

111.    The decision of the board finding Doe responsible for sexual exploitation of
        Smith was unsupported by the evidence and occurred because of gender bias
        against Doe; it was a decision to “believe the victim” because of her gender rather
        than apply the standard of proof by a preponderance of the evidence.

112.    The decision of the board finding Doe responsible for sexual exploitation of
        Smith was the result of a biased belief, wholly lacking in support from the
        evidence, that because of her gender Smith’s perceptions and her conjectural
        inference against Does were more reliable than his percipient account.

113.    The board’s decision is evidence of the bias of its members against Doe because
        of his gender.

114.    Further evidence of the gender bias of the individual defendants is the willingness
        of each of them to countenance procedure in the handling of sexual assault
        complaints that dispensed with the rights of the accused to basic fairness in blatant
        contrast to the preservation of such rights in cases of even the most serious non
        sexual assault cases.


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115.    Levey, Clark’s highest ranking Title IX Administrator, has evinced biased against
        accused male sex offenders due in part to her professional experience with sexual
        violence against women.

116.    Sexual violence against women is an extremely serious and disturbing form of
        misconduct; it is virtually the exclusive preserve of men, many of whom offend
        repeatedly against more than one victim, which results in overwhelming evidence
        of guilt when such perpetrators are called to account.

117.    Levey, a graduate of Clark, told the Scarlet student newspaper reporter in 2017:
        “Since I was a student at Clark I’ve been interested in violence against women
        and violence prevention.”

118.    Before joining Clark as its Title IX coordinator in 2017 Levey, who has a law
        degree, worked at the National Center for State Courts on compliance with the
        Violence Against Women Act, which promotes the investigation and prosecution
        of violent crimes against women.

119.    Levey, as title IX coordinator, was at all pertinent times the Clark administrator in
        charge of the university’s efforts to respond rapidly to sexual assault complaints
        and, with little regard for the rights of the accused to basic fairness, to get results.

120.    This imperative informed Levey’s direction of her deputies, Keyes and Dolan,
        and her direction of Title IX training programs for sexual offense board members
        and numerous other faculty and staff of the university.

121.    Besides their own biases, the individual defendants were each employees of, and
        economically dependent on, Clark University, and as such they were influenced s
        by the institutionalized bias of their employer.

122.    At all pertinent times Clark and its agents were under pressure from the federal
        government and also from Clark students to quell the occurrence of male
        perpetrated sexual violence among its students.

123.    To show results and resolve, Clark, Dr. Angel, and his subordinates deliberately
        subordinated the rights of accused sex offenders to the administrative imperative
        of protecting the university’s federal funding and the political imperative of
        mollifying students and others outraged by sexual violence against women.

124.    In 2011 the U.S. Department of Education Office of Civil Rights (“the
        department”) informed schools and universities that failure to act on complaints of
        sexual assault or harassment would be treated as discrimination against women
        and girls, banned under Title IX of the Education Amendments act of 1972.



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    125.    The department warned Clark and other institutions that failure to remedy a
            discriminatory lack of response to sexual assault and sexual harassment of women
            could result in the loss of funding.

    126.    On the other hand the Education Department offered, and Clark took advantage
            of, funding for programs to prevent or punish sexual misconduct, including
            support for increased university staffing to investigate and punish it.
.
    127.    At all pertinent times Clark, Angel and other administrators of the university were
            aware the department had launched investigations against various institutions of
            higher education regarding failure to punish perpetrators of sexual assault and
            sexual harassment because of bias against the female victims.

    128.    The department required schools like Clark to prosecute and sanction perpetrators
            administratively, using a more lenient standard of proof -- by a preponderance of
            the evidence -- rather than the clear and convincing standard that many
            institutions favored.

    129.    Clark went further than this by downgrading and removing procedural protections
            essential to basic fairness for the accused, as set forth above, in order to achieve
            rapid processing of complaints and imposition of sanctions on accused
            perpetrators.

    130.    The university sponsored a variety of programs to prevent and respond to sexual
            assaults and other sexual misconduct, and it often did so it in a manner tending to
            promote a presumption of guilt against accused males and bias against their rights
            to basic fairness.

    131.    Clark sought and received a grant from the Education Department to establish the
            Clark Anti-Violence Education (“CAVE”) program which characterized sexual
            assault on its students as “epidemic.”

    132.    In 2015, the year after President Obama launched his “It’s On Us” campaign to
            mobilize students, educators and administrators against sexual assault, Clark
            produced and distributed its It’s On Us video.
            https://www.youtube.com/watch?v=Y0bdwSmstNM

    133.    The video is a series of shots of Clark students, professors, and administrators
            (including President Angel and Keyes) making a series of statements including
            “It’s on us to never blame the victim” and “It’s on us to stop sexual assaults any
            way we can.”




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134.    The takeaway from the “It’s on Us Video” is captured by one of the participants
        students who states: “Never blame the victim” which in turn has continuously
        infected Clark’s investigative procedures with gender bias.

135.    Also in 2015 Clark presented documentaries on sexual assault with such titles as
        “It Was Rape” and “The Hunting Ground” calling stridently for a crackdown on
        sexual offenders. Keyes, then Clark Director of Residential Life and Housing and
        chair of what was then called the Sexual Misconduct Disciplinary Board,
        promoted showings of “The Hunting Ground.”

136.    Starting in 2015, again at the behest of the U.S. Department of Education, Clark
        added a Title IX coordinator and two deputy coordinators to its staff to focus on
        preventing and prosecuting sexual offenses.

137.    In creating education programs, media productions, posters and written materials,
        and revising policy on sexual offenses Clark administrators and advocates
        typically referred to a complainant as “the victim,” thereby advancing the premise
        without scrutiny or adjudication that the accused is a sex offender.

138.    Clark took the foregoing and other actions under pressure not only from the
        Department of Education but under public criticism from some of its students.

139.    An article under the headline “Students Frustrated with University’s Approach to
        Sexual Assault” was featured in The Scarlet, Clark’s student newspaper, April 23,
        2015; it reported on students who claimed the university was not responding
        adequately to sexual assaults, and called for a “naming and shaming” campaign
        against rapists.

140.    Consistent with Clark’s concern over perceptions of this issue, the foregoing
        article has been removed from The Scarlet’s website due to “concerns about the
        accuracy of the reporting in this article,” according to a notice posted in its place,
        which goes on to state: “We want to thank everyone who brought this to our
        attention, and [assure] our readers that we are discussing every step of the writing
        and editing process in order to ensure that similar mistakes are not made in the
        future. We apologize for the confusion this article caused.”
        https://thescarlet.org/12872/category_news/students-frustrated-with-universitys-
        approach-to-sexual-assault/

141.    The same month in which the original article appeared a Clark sexual offenses
        board ordered the expulsion of a freshman student accused of raping another
        freshman.

142.    In August of 2015 the expelled student sued Clark, Keyes and several other Clark
        administrators in the central district of the Massachusetts federal district court.


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        Doe v. Clark University, Davis Baird, Dennis Darrigrand, Adam Keyes, Sarah
        Bergeron, Jacqueline Capomacchio, Case No. 4:15-cv-40113-TSH, [6] Complaint
        (D. Mass. Aug. 14, 2015).

143.    The expelled student claimed Clark and its agents gave his accuser preferential
        treatment “because she is a female,” treated her charges as true from the outset,
        and moved immediately to ban him from the campus and to expel him without
        investigating or allowing him time to mount a defense.

144.    The expelled student claimed that after the sexual offense board ordered his
        expulsion he was able to obtain evidence casting doubt on his guilt but Angel
        refused to consider it and denied his appeal.

145.    The suit alleged violations to 20 U.S.C. §1681 (Title IX), breach of contract by
        Clark, failure to observe requirements for basic fairness in handing of the rape
        allegation, and a number of other common law claims.

146.    The lawsuit noted that different policy statements of Clark were in conflict as to
        whether the university judged sexual misconduct allegations under a
        “preponderance of the evidence” standard (i.e., likely than not) or the more
        exacting “clear and convincing evidence” standard. On the other hand it was clear
        allegations of non-sexual offenses, including violent offenses, were then judged
        under the clear and convincing standard.

147.    When the student and complainant went before the sexual offense hearing board,
        the lawsuit claimed, he was effectively denied the right to question his accuser
        because the panel chair, Keyes, required that the questions go through him and in
        that process he altered some of the questions and simply refused to ask many of
        others.

148.    Without beginning the discovery process, in November of 2016 Clark and the
        student settled the lawsuit on undisclosed terms.

149.    In 2017, according to a reporter for the Scarlet, at a counseling center of Clark
        treating sexual assault victims “like many offices at Clark, they always believe
        that what the [complainant] student is saying is true.”

150.    Megan Kersting, director of a counseling center at Clark that provide treatment to
        sex assault victims, told the reporter that using the separate procedures Clark set
        up for prosecuting accused sex offenders “can be empowering” for victims.

151.    “It’s not a perfect process, but it is faster [than criminal prosecution]” the reporter
        quoted Levey as stating. Levey added that “[i]t’s really up to the victim survivor
        because they’re driving the train to decide how they want to approach it.”


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152.    Clark mounted training programs for its expanded Title IX staff that promoted
        shortchanging the rights of accused males, and it designated many on its staff as
        “responsible employees” and trained them in how to work with complainants and
        bring their cases to Levey’s office.

153.    Peer advisors, including on information and belief Jane Smith, were designated
        responsible employees and were trained in Clark’s Title IX sexual offense
        procedures.

154.    In her capacity as peer adviser to the plaintiff, Smith was at all pertinent times an
        employee of Clark.

155.    As a direct result of the foregoing the plaintiff has been harmed in his reputation
        and good name, humiliated, erroneously labeled a perpetrator of sexual
        exploitation, suffered great pain of body and mind, has been impeded in his
        pursuit of an education and his ability to continue his education is under imminent
        threat due to the bar against his registering for next fall’s courses and the sexual
        exploitation finding placed in his record.

                                      COUNT I
                          Title IX - Gender Discrimination
                              All Defendants but Smith

156.    Each of the previous paragraphs is incorporated as if fully set forth herein.

157.    Title IX of the Education Act Amendment of 1972, 20 U.S.C. § 1681, et seq.
        provides that “[n]o person in the United States shall, on the basis of sex, be
        excluded from participation in, be denied the benefits of, or be subject to
        discrimination under any any education program or activity receiving Federal
        financial assistance.”

158.    At all pertinent times Clark received federal financial assistance for its programs,
        and in particular for programs dealing with prevention, investigation,
        administrative adjudication, and sanctioning of sexual misconduct.

159.    In the investigation and resolution of sexual harassment complaints “[p]rocedures
        . . . according due process to both parties involved, will lead to sound and
        supportable decisions.” Revised Sexual Harassment Guidance: Harrassment of
        Students by School Employees, Other Students, or Third Parties, at 22 (January
        2001), https://www2.ed.gov/about/offices/list/ocr/docs/shguide.pdf, viewed April
        3, 2019.




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160.    At all pertinent times, as a condition of its acceptance of federal funds, Clark
        could not lawfully, on the basis of gender, “Subject any person to separate or
        different rules of behavior, sanctions, or other treatment . . . [or] limit any person
        in the enjoyment of any right, privilege, advantage, or opportunity.” ” 34 C.F.R.
        106.31(b)(4),(7).

161.    At all pertinent times the U.S. Department of Education Office of Civil Rights
        required Clark, its agents and employees, to provide “prompt and equitable”
        procedures to resolve complaints of sexual harassment and sexual assault, and
        required that “the parties must have an equal opportunity to present relevant
        witnesses and other evidence.” Exhibit 10, “dear colleague” letter April 4, 2011,
        by the department’s Office of Civil Rights, at 9, 11.

162.    At all pertinent times the department’s Office of Civil Rights required Clark, its
        agents and employees, to provide “adequate, reliable, and impartial investigation
        of complaints, including the opportunity for both parties to present witnesses and
        other evidence.” Id., at 9.

163.    Because of Doe’s gender, when Smith complained against him the defendants
        failed to conduct an adequate, reliable, or impartial investigation of Smith’s
        allegations.

164.    Because of bias against accused male sex offenders the defendants failed to use
        equitable procedures in resolving Smith’s complaint against Doe.

165.    In failing to allow Doe to pose questions—to cross-examine his accuser Clark and
        its agents denied him equal opportunity to present witnesses and other evidence.

166.    Clark and its agents, in their proceedings against Doe, did not identify or give
        notice as to whether a party, investigator, or the board, had the burden of proof to
        show Doe was responsible for an incident of sexual misconduct.

167.    Clark and its agents failed to apply the preponderance of the evidence standard
        but instead due to pro-female/anti-male bias credited the unsubstantiated
        accusation of Smith over the percipient account of Doe.

168.    The finding that Doe was responsible for sexual exploitation of Smith was clearly
        erroneous, arbitrary, capricious and unsupported by the evidence.

169.    The defendants found Doe responsible for sexual exploitation of Smith because of
        gender bias against Doe and in favor of Smith.




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170.    Clark and its agents were on notice of, and in fact were the purveyors of, the lack
        of fair process in the proceedings against Doe and as a direct and proximate result
        thereof they denied Doe equal access to Clark’s educational programs.

171.    As a direct and proximate result of the foregoing, plaintiff has been seriously and
        irreparably harmed and is under imminent threat of continuing and worsening
        harm in his education, career prospects, earning potential, reputation, his physical
        and emotional well-being, and other direct and consequential damages.

172.    Title IX is enforceable through an implied right of action affording persons
        subjected to discrimination on the basis of gender pecuniary damages and
        equitable relief.

173.    Doe is entitled to declaratory judgment and to a permanent injunction requiring
        Clark to terminate all disciplinary process against Doe arising directly or
        indirectly from Smith’s accusation and to expunge all references thereto from his
        record at Clark.

174.    Doe is entitled to recover damages in an amount to be determined at trial plus
        interest, costs, and attorney fees to the extent provided by law.

                                     COUNT II
                                 Breach of Contract
                                       Clark

175.    Each of the previous paragraphs is incorporated as if fully set forth herein.

176.    At all times pertinent hereto a contractual relationship existed and continues to
        exist between Clark and Doe through the 2018-19 student handbook.

177.    At no time did Clark have a reasonable expectation that Doe was actually or
        constructively on notice of the procedures Clark would employ for investigation
        and adjudication of claims of nonviolent sexual offenses.

178.    At all pertinent times Doe had a reasonable expectation that were he to be accused
        of misconduct, including but not limited to nonviolent sexual misconduct, he
        would be entitled to notice of the specific fact allegations against him, would have
        the benefit of a fair and impartial investigation, would have access to all relevant
        materials, would have the opportunity to question witnesses against him, and
        would be judged by an unbiased board including his peers.

179.    For all the reasons set forth herein, Clark materially breached its contract with
        Doe by failing to comply with its obligations, standards, policies and procedures,



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        set forth in the 2018-19 student handbook and by subjecting Doe to a blatantly
        arbitrary and capricious disciplinary proceeding and sanctions.

180.    As a direct and proximate result of the foregoing, plaintiff has been seriously and
        irreparably harmed and is under imminent threat of continuing and worsening
        harm in his education, career prospects, earning potential, reputation, his physical
        and emotional well-being, and other direct and consequential damages.

181.    Plaintiff is entitled to declaratory and injunctive relief as set forth above and to
        recover damages in an amount to be determined at trial plus interest, costs, and
        attorney fees to the extent provided by law.

                                  COUNT III
              Breach of the Covenant of Good Faith and Fair Dealing
                                      Clark

182.    Each of the previous paragraphs is incorporated as if fully set forth herein.


183.    Based on the foregoing facts, Clark has breached and violated the covenant of
        good faith and fair dealing implied in its contract with Doe by subjecting him to a
        disciplinary proceeding for a serious offense without basic fairness, without the
        right to know the details of the accusations, to have access to all evidence and
        relevant materials, to have representation, to question the adverse witness, and the
        right to a fair and impartial investigation and to adjudication by a competent and
        unbiased panel free of gender bias.

184.    As a direct and proximate result of the foregoing, plaintiff has been seriously and
        irreparably harmed and is under imminent threat of continuing and worsening
        harm in his education, career prospects, earning potential, reputation, his physical
        and emotional well-being, and other direct and consequential damages, and he is
        entitled to declaratory and injunctive relief as set forth above and to recover
        damages in an amount to be determined at trial plus interest, costs, and attorney
        fees to the extent provided by law.

                                      COUNT IV
                                     Defamation
                                     Smith, Clark

185.    Each of the previous paragraphs is incorporated as if fully set forth herein.

186.    Smith defamed Doe by claiming he had sexually assaulted and exploited her by
        engaging in intercourse with her without her consent, given that a condition of her
        consent was that he use protection.


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187.    Smith accused Doe of sexual misconduct, repeated this allegation to Keys and
        Dolan in their investigation, before the sexual offenses board at the hearing, and
        on information and belief thereafter to one or more third parties.

188.    She did so knowing that the accusation was false and defamatory, or with reckless
        disregard as to its truth or falsity.

189.    On information and belief Smith communicated her accusations against Doe and
        the result of Clark’s disciplinary process to third parties in the Clark community.
        The result has been entered onto Doe’s permanent record at Clark, which will
        likely result in continuing defamation of Doe before educational institutions and
        potential employers.

190.    As a direct and proximate result of the foregoing, plaintiff has been seriously and
        irreparably harmed and is under imminent threat of continuing and worsening
        harm in his education, career prospects, earning potential, reputation, his physical
        and emotional well-being, and other direct and consequential damages, and he is
        entitled to recover damages in an amount to be determined at trial plus interest,
        costs, and attorney fees to the extent provided by law.

                                     COUNT V
                                Declaratory Judgment
                                        Clark

191.    Each of the previous paragraphs is incorporated as if fully set forth herein.

192.    In its treatment of Smith’s allegation against Doe, Clark has violated and
        continues to violate its contractual obligations as well as state and federal law.

193.    Doe’s education and career opportunities have been severely damaged and
        without appropriate redress Clark will continue to label and sanction Doe as an
        adjudicated sex offender, thereby jeopardizing his future prospects for education
        and employment, whether in the public or private sector.

194.    Pursuant to 28 U.S.C. § 2201, Doe seeks a declaratory judgment of this Court
        finding Clark has breached its legal and contractual obligations to Doe and
        therefore Doe is entitled to redress that will insofar as is possible make him whole.

195.    The redress Doe seeks is a permanent injunction (a) vacating the findings and
        sanctions placed on Doe by the Sexual Offenses Hearing Board, Levey, and the
        University Conduct Board; (b) directing Clark to completely and permanently
        expunge from Does education record all references, notations or other
        memorialization disclosing Smith’s accusation or the resulting investigation,
        hearing, finding, appeal, sanctions or other disciplinary process arising from


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         failure to comply with so-called training as part of the sanctions for alleged sexual
         misconduct; (c) ordering Clark to provide Doe a notarized certification by Angel
         or other appropriate official that the said finding against Doe has been reversed
         and all records of it expunged; (d) ordering Clark and its agents to make no
         disclosure in any manner or form to third parties regarding the accusation and
         resulting process.

                                PRAYER FOR RELIEF

         WHEREFORE, Plaintiff John Doe respectfully requests that this Honorable
Court:

         a.     Order Clark to vacate, nullify, and withdraw the findings and sanctions
         placed on Doe by the Sexual Offenses Hearing Board, Levey, Baird and the
         University Conduct Board;

         b.      Award Doe compensatory damages in an amount to be determined at trial
         including, without limitation, damages for mental pain and suffering, loss of
         future education prospects and professional career opportunities and earnings,
         damage to reputation, damages to physical, emotional, and psychological well-
         being, and other direct and consequential damages;

         c.     Award prejudgment interest;

         d.    Award attorneys’ fees and costs pursuant in accordance to the law of
         damages for him;

         e.     Grant such other relief as the Court deems to be just and proper.

               PLAINTIFF DEMANDS JURY TRIAL AS TO ALL ISSUES

                                                       Respectfully submitted,

                                                       The Plaintiff, by his attorneys,

                                                       /s/ Hector E. Pineiro _________
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DATED: April 5, 2019


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